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   5
       Attorney for Equity Security Holder
   6   PETER ROSENTHAL and BARBARA ROSENTHAL,
       TRUSTEES OF THE ROSENTHAL FAMILY TRUST UTD 3/25/1988
   7
   8
                            UNITED STATES BANKRUPTCY COURT
   9
                             CENTRAL DISTRICT OF CALIFORNIA
  10
                                    LOS ANGELES DIVISION
  11
  12
       In re                             )          No.     2:19-bk-14989 WB
  13                                     )
                                         )          Chapter 11
  14   SCOOBEEZ, et al,                  )
                                         )          JOINDER OF SHAREHOLDER THE
  15                    Debtors.         )          ROSENTHAL FAMILY TRUST UTD
       _________________________________ )          3/25/1988 IN THE SUPPLEMENTAL
  16                                     )          OPPOSITION TO MOTION FOR
       Affects:                          )          ORDER AUTHORIZING SALE OF
  17                                     )          SUBSTANTIALLY ALL OF THE
       } All Debtors                     )          ASSETS OF DEBTOR OUTSIDE OF
  18                                     )          ORDINARY COURSE OF BUSINESS
       Q Scoobeez, ONLY                  )          FREE AND CLEAR OF ALL LIENS,
  19                                     )          CLAIMS, ENCUMBRANCES AND
       Q Scoobeez Global, Inc. ONLY      )          INTERESTS, & AUTHORIZING THE
  20                                     )          ASSUMPTION AND ASSIGNMENT
       Q Scoobur LLC, ONLY               )          OF CERTAIN EXECUTORY
  21                                     )          CONTRACTS AND UNEXPIRED
                                         )          LEASES
  22                                     )
                                         )          Date:         November 18, 2019
  23                                     )          Time:         10:00 A.M.
                                         )          Ctrm:         1375
  24                                     )                        255 East Temple Street.
                                         )                        Los Angeles, CA 90012
  25   _________________________________ )
  26
  27
  28             JOINDER IN SUPPLEMENTAL OPPOSITION TO MOTION FOR AUTHORIZATION OF
                             SALE OF SUBSTANTIALLY ALL ASSETS OF DEBTOR
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   1         TO THE HONORABLE JULIA BRAND, UNITED STATES BANKRUPTCY
   2   JUDGE:
   3
   4         For all the reasons stated therein, Equity Security Holder PETER ROSENTHAL
   5   and BARBARA ROSENTHAL, TRUSTEES OF THE ROSENTHAL FAMILY TRUST
   6   UTD 3/25/1988 joins in the Supplemental Opposition to Motion for Order Authorizing
   7   Sale of Substantially All of the Assets of Debtor Outside of Ordinary Course of Business
   8   Free and Clear of All Liens, Claims, Encumbrances and Interests, & Authorizing the
   9   Assumption and Assignment of Certain Executory Contracts and Unexpired Leases
  10   filed by Shahan Ohanessian and Shoushana Ohanessian on Nov ember 11, 2019.
  11
  12   Dated: November 11, 2019
  13
                                               /s/ Richard T. Baum
  14                                           _______________________________
                                               RICHARD T. BAUM, Attorney for Equity
  15                                           Security Holder PETER ROSENTHAL and
                                               BARBARA ROSENTHAL, TRUSTEES OF
  16                                           THE ROSENTHAL FAMILY TRUST UTD
                                               3/25/1988
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  28             JOINDER IN SUPPLEMENTAL OPPOSITION TO MOTION FOR AUTHORIZATION OF
                             SALE OF SUBSTANTIALLY ALL ASSETS OF DEBTOR
                                                 -2-
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   1                                PROOF OF SERVICE OF DOCUMENT
   2   I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
       11500 West Olympic Boulevard, Suite 400, Los Angeles, California 90064-1525.
   3
       A true and correct copy of the foregoing document described as JOINDER OF SHAREHOLDER THE
   4   ROSENTHAL FAMILY TRUST UTD 3/25/1988 IN THE SUPPLEMENTAL OPPOSITION TO MOTION FOR
       ORDER AUTHORIZING SALE OF SUBSTANTIALLY ALL OF THE ASSETS OF DEBTOR OUTSIDE OF
   5   ORDINARY COURSE OF BUSINESS FREE AND CLEAR OF ALL LIENS, CLAIMS, ENCUMBRANCES
       AND INTERESTS, & AUTHORIZING THE ASSUMPTION AND ASSIGNMENT OF CERTAIN EXECUTORY
   6   CONTRACTS AND UNEXPIRED LEASES will be served or was served (a) on the judge in chambers in the form
       and manner required by LBR 5005-2(d); and (b) in the manner indicated below:
   7
       I. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (“NEF”) – Pursuant to
   8   controlling General Order(s) and Local Bankruptcy Rule(s) (“LBR”), the foregoing document will be served by the court
       via NEF and hyperlink to the document. On November 11, 2019, I checked the CM/ECF docket for this bankruptcy case
   9   or adversary proceeding and determined that the following person(s) are on the Electronic Mail Notice List to receive
       NEF transmission at the email address(es) indicated below:
  10
  11                                                           } Service information continued on attached page

  12   II. SERVED BY U.S. MAIL:
       On November 11, 2019 , I served the following person(s) and/or entity(ies) at the last known address(es) in this
  13   bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United
       States Mail, first class, postage prepaid, addressed as follows. Listing the judge here constitutes a declaration that mailing
  14   to the judge will be completed no later than 24 hours after the document is filed.

  15   Judge Julia Brand, Suite 1382, 255 East Temple Street, Los Angeles, California 90012

  16   Conway MacKenzie, Inc., 333 S Hope St, Ste 3625, Los Angeles, CA 90071
       Daimler Trust, c/o BK Servicing, LLC, PO Box 131265, Roseville, MN 55113-0011
  17   Levene Neale Bender Yoo & Brill LLP, 10250 Constellation Blvd, Ste 1700, Los Angeles, CA 90067

  18                 G     Service information continued on attached page

  19   III. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL
       (indicate method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on November 11,
  20   2019 I served the following person(s) and/or entity(ies) by personal delivery, or (for those who consented in writing to
       such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
  21   that personal delivery on the judge will be completed no later than 24 hours after the document is filed.

  22           G Service information continued on attached page

  23   I declare under penalty of perjury under the laws of the United States of America that the foregoing is true and correct.

  24   November 11, 2019                 RICHARD T. BAUM                     /s/ Richard T. Baum
       Date                            Typ e Name                            Signature
  25
       This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of
  26   California.
       December 2012                                                                                            F 9013-3.1
  27
  28                  JOINDER IN SUPPLEMENTAL OPPOSITION TO MOTION FOR AUTHORIZATION OF
                                  SALE OF SUBSTANTIALLY ALL ASSETS OF DEBTOR
                                                                   -3-
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